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                                UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF RHODE ISLAND


  DAMIAN MEDICI,

                 Plaintiff,

  v.
                                                           C.A. NO. 17-cv-00265-M-PAS
  LIFESPAN CORPORATION,
  RHODE ISLAND HOSPITAL, and
  MICHAEL SUSIENKA,

                 Defendants.


 THE PLAINTIFF’S ASSENTED-TO SECOND MOTION TO ENLARGE TIME TO FILE
            OPPOSITON TO MOTION FOR SUMMARY JUDGMETN

        The plaintiff, Damian Medici, hereby moves to enlarge the time for him to file his

 opposition and supporting materials to the Defendant’s Motion for Summary Judgment by 7 days,

 from October 11 through October 18. Previously, the Court allowed the plaintiff to extend the due

 date by 14 days. In support, the plaintiff states that the Motion for Summary Judgment is extensive,

 comprising 56 pages, plus a 33-page statement of facts and 73 exhibits, spanning 672 pages.

 Undersigned counsel states that he is a sole practitioner and, due to his having been working on

 other matters, has not been able to devote the time on the Opposition he expected when the first

 motion was filed. He certifies that needs the additional time to prepare adequately the opposition

 materials. Counsel for the defendants assents to this motion.

        WHEREFORE, the plaintiff respectfully moves to extend the deadline for him to file his

 opposition to the Motion for Summary Judgment from October 11 through October 18.
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                                                            Respectfully submitted,
                                                            The Plaintiff,

                                                            DAMIAN MEDICI,
                                                            By his attorney,

                                                            /s/ William T. Harrington
                                                            William T. Harrington (BBO# 564445)
                                                            171 Milk Street, 2nd Floor
                                                            Boston, MA 02109
                                                            (617) 426-7400
                                                            wharringtonlaw@gmail.com
 Dated: October 8, 2018


                                      CERTIFICATE OF SERVICE

          I hereby certify that this document(s) filed through the ECF system will be sent electronically to
 the registered participants as identified on the Notice of Electronic Filing and paper copies will be sent to
 those indicated as non-registered participants via first class mail, postage prepaid, on this date.


                                                            /s/ William T. Harrington




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